Case 3:20-cv-00009-NKM Document 44 Filed 11/30/23 Page 1 of 2 Pageid#: 835




                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                   Plaintiffs,
                                                                  Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                   Defendants.


                                             ORDER

          Having reviewed Defendants’ Motion to Further Modify Pseudonym and

  Sealing Orders to Allow Public Acknowledgement in Other Court Proceedings, and

  for good cause shown, the Court GRANTS Defendants’ Motion. Dkt. 40. It is

  hereby ORDERED that, notwithstanding other orders issued in this case,

  Defendants may (1) publicly acknowledge that the same child at issue in this case is the

  subject of the state court case identified in Defendants’ Motion and that Plaintiffs in this

  case are the same individuals who are parties in the state court case; (2) publicly identify

  in filings in the state court case, insofar as those filings reference this case, the foreign

  country in which the child at issue in this case was found, the government to which she

  was transferred, and Plaintiffs’ state of residence at the time they brought suit; (3) agree

  to making public the certified copies of the records in this case that the United States

  submitted under seal in the state case, provided those copies are redacted in accord with

  the public versions of those records on this Court’s docket; and (4) adhere to the same
Case 3:20-cv-00009-NKM Document 44 Filed 11/30/23 Page 2 of 2 Pageid#: 836




  modifications in any future filings in the same state case or in other cases involving

  Plaintiffs and the same child.

         SO ORDERED.

         Dated: November 30, 2023
